  Case 18-06539-dd              Doc 18 Filed 05/03/19 Entered 05/04/19 00:47:18                                Desc Imaged
                                      Certificate of Notice Page 1 of 3
                                                United States Bankruptcy Court
                                                   District of South Carolina



Case Number: 18−06539−dd                                           Chapter: 7

In re:
 Jay Coleman Connor
                                                                                                          Filed By The Court
                                                NOTICE TO FILE PROOF OF                                       05/01/19
                                           CLAIM DUE TO RECOVERY OF ASSETS                                  Laura A. Austin
                                                                                                             Clerk of Court
                                                                                                          US Bankruptcy Court


NOTICE IS GIVEN THAT:

The initial notice in this case advised creditors that is was not necessary to file a proof of claim. However, since that notice was
sent, assets have been recovered by the trustee. Therefore, creditors who wish to share in any distribution of funds must file a
proof of claim with the clerk of the bankruptcy court within the timeframes outlined below:

         For all creditors (except a Governmental Unit):                             For a Governmental Unit:
           90 days after the mailing of this notice.                  180 days after the order for relief, or 90 days after the
                                                                            mailing of this notice, whichever is later.


Creditors who fail to file a proof of claim within the above timeframes may miss the opportunity to share in any distribution from
the debtor's estate.
A proof of claim form may be filed electronically through the court's electronic proof of claim system (ePOC) found on the court's
website at www.scb.uscourts.gov/epoc. A proof of claim form may also be filed by mailing a completed paper form to the
attention of the Claims Clerk at the United States Bankruptcy Court, 1100 Laurel Street, Columbia, SC 29201. There is no filing
fee for filing a proof of claim. Any creditor who has already filed a proof of claim need not file another proof of claim.



                                                                                Laura A. Austin
                                                                                Clerk of Court
                                                                                United States Bankruptcy Court

                                                                                By: S Dillard, Deputy Clerk
                                                                                1100 Laurel Street
                                                                                Columbia, SC 29201−2423
                                                                                (803) 765−5436
        Case 18-06539-dd             Doc 18 Filed 05/03/19 Entered 05/04/19 00:47:18                               Desc Imaged
                                           Certificate of Notice Page 2 of 3
                                               United States Bankruptcy Court
                                                District of South Carolina
In re:                                                                                                     Case No. 18-06539-dd
Jay Coleman Connor                                                                                         Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0420-2                  User: dillard                      Page 1 of 2                          Date Rcvd: May 01, 2019
                                      Form ID: 159BNC                    Total Noticed: 21


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 03, 2019.
543556588      +API - CHARLESTON LLC,    C/O Moore and VanAllen,     PO Box 22828,   Charleston SC 29413-2828
543556589      +Attorney General of The US,    Civil Division Bankruptcy Section,     US Department of Justice,
                 Washington DC 20530-0001
543556592      +Bradford Mortgage /TMST,    100 N. Cherry St No.400,     Winston Salem NC 27101-4016
543556594       First Federal Savings and Loan,    PO Box 30149,     Tampa FL 33630-3149
543556593       First Federal-Formerly Plantation,     Federal Bank fka First Trust,     PO Box 31279,
                 Tampa FL 33631-3279
543556595      +Gene Wright,   c/o J & L Oil Co.,     204 US Hwy 45,    Vernon Hills IL 60061-2347
543556599      +Jim & Sara Connor,     1621 East Saluda Lake Road,     Greenville SC 29611-2453
543556603      +Rogers Townsend & Thomas,    PO Box 100200,    Columbia SC 29202-3200
543556605      +South State Bank,    46 Broad Street,    Charleston SC 29401-3004
543556607      +Synovus Bank,   230 Seven Faerms Drive Ste 100,      Charleston SC 29492-7555
543556608      +The Law Firm of Cisa and Dodds,    858 Lowcountry Blvd Ste 101,      Mount Pleasant SC 29464-3080

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
db             +E-mail/PDF: jayc650@gmail.com May 01 2019 23:03:10       Jay Coleman Connor,
                 85 Cumberland Street #3,   Charleston, SC 29401-3168
tr             +EDI: QKCAMPBELL.COM May 02 2019 02:58:00      Kevin Campbell,    PO Box 684,
                 Mount Pleasant, SC 29465-0684
543556587      +EDI: AFNIRECOVERY.COM May 02 2019 02:58:00      A T & T,    c/o Afni Inc,    PO Box 3427,
                 Bloomington IL 61702-3427
543556591      +EDI: BANKAMER2.COM May 02 2019 02:58:00      Bank of America,    100 N. Tryon Street,
                 Charlotte NC 28255-0001
543556590       EDI: BANKAMER.COM May 02 2019 02:58:00      Bank of America,    PO Box 1390,
                 Norfolk VA 23501-1390
543556596       EDI: IRS.COM May 02 2019 02:58:00      Internal Revenue Service,    1835 Assembly Street,
                 Stop MDP 39,   Columbia SC 29201
543556602       EDI: BANKAMER2.COM May 02 2019 02:58:00      Nations Bank,    820 Silver Lake Blvd,
                 Dover DE 19904-2464
543556604      +E-mail/Text: bankruptcy@sctax.org May 01 2019 23:03:46       SC Department of Revenue,
                 PO Box 12265,   Columbia SC 29211-2265
543556606      +EDI: STF1.COM May 02 2019 02:58:00      Suntrust,   PO Box 26150,    Richmond VA 23260-6150
543556609      +E-mail/Text: USASC-Bankruptcy@usdoj.gov May 01 2019 23:03:50       US Attorney for South Carolina,
                 For The Internal Revenue Service,   1441 Main Street Suite 500,     Columbia SC 29201-2897
                                                                                               TOTAL: 10

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
543556597*        Internal Revenue Service,   ACS Support,    PO Box 8208,   Philadelphia PA 19101-8208
543556598*        Internal Revenue Service,   Centralized Insolvency Operations,    PO Box 7346,
                   Philadelphia PA 19101-7346
543556600      ##+Korn Law Firm,   1300 Pickens Street,    Columbia SC 29201-3430
543556601      ##+Michael Lemmons,   10 Seneca Ave West,    Hawthorn Woods IL 60047-1917
                                                                                               TOTALS: 0, * 2, ## 2

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 03, 2019                                             Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING
      Case 18-06539-dd       Doc 18 Filed 05/03/19 Entered 05/04/19 00:47:18              Desc Imaged
                                   Certificate of Notice Page 3 of 3


District/off: 0420-2         User: dillard               Page 2 of 2                  Date Rcvd: May 01, 2019
                             Form ID: 159BNC             Total Noticed: 21


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 1, 2019 at the address(es) listed below:
              Ann U. Bell   on behalf of Debtor Jay Coleman Connor ann@droselaw.com, drose@droselaw.com
              Kevin Campbell    kcampbell@campbell-law-firm.com, kcampbell@ecf.axosfs.com
              R. Michael Drose   on behalf of Debtor Jay Coleman Connor Drose@Droselaw.com, droselaw@gmail.com
              US Trustee’s Office    USTPRegion04.CO.ECF@usdoj.gov
                                                                                            TOTAL: 4
